Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 1 of 38 PageID 4




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

   DAWN BOLIN, as Personal
   Representative of the Estate of
   MAUREEN HOWE, Deceased,

         Plaintiff,
   v.                                            Case No.: 6:21-cv-00357-Orl

   COQUINA CENTER, LLC d/b/a
   OPIS COQUINA CENTER;
   GABRIEL LIVING CENTERS, LLC;
   MARILYN G. WOOD; and
   MCR HEALTH, INC. d/b/a
   HUNTINGDON BEHAVIORAL
   HEALTH,

         Defendants.
   ________________________________________/

                           NOTICE OF REMOVAL

                                     EXHIBIT A
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 2 of 38 PageID 5
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 3 of 38 PageID 6
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 4 of 38 PageID 7
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 5 of 38 PageID 8
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 6 of 38 PageID 9
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 7 of 38 PageID 10
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 8 of 38 PageID 11
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 9 of 38 PageID 12
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 10 of 38 PageID 13
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 11 of 38 PageID 14
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 12 of 38 PageID 15
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 13 of 38 PageID 16
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 14 of 38 PageID 17
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 15 of 38 PageID 18
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 16 of 38 PageID 19
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 17 of 38 PageID 20
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 18 of 38 PageID 21
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 19 of 38 PageID 22
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 20 of 38 PageID 23
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 21 of 38 PageID 24
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 22 of 38 PageID 25
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 23 of 38 PageID 26
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 24 of 38 PageID 27
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 25 of 38 PageID 28
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 26 of 38 PageID 29
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 27 of 38 PageID 30
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 28 of 38 PageID 31
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 29 of 38 PageID 32
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 30 of 38 PageID 33
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 31 of 38 PageID 34
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 32 of 38 PageID 35
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 33 of 38 PageID 36
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 34 of 38 PageID 37
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 35 of 38 PageID 38
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 36 of 38 PageID 39
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 37 of 38 PageID 40
Case 6:21-cv-00357-WWB-DCI Document 1-1 Filed 02/23/21 Page 38 of 38 PageID 41
